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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION


 UNITED STATES OF AMERICA,

 Ex rel Ari Lawrence,

        Relator-Plaintiff

 v.                                                Case No.: 3:16-cv-576-J39-PDB

 HUNTINGTON INGALLS INDUSTRIES,
 INC.,

 HUNTINGTON INGALLS
 INCORPORATED,

 and

 NORTHROP GRUMMAN
 CORPORATION,

        Defendants.

                 FIRST AMENDED FALSE CLAIMS ACT COMPLAINT
                         AND DEMAND FOR JURY TRIAL

       On behalf of the United States of America, Relator-Plaintiff, Ari Lawrence (hereinafter

“Relator”), by counsel, files this qui tam First Amended Complaint against Huntington Ingalls

Industries, Inc. (“Huntington Ingalls Industries”), Huntington Ingalls Incorporated d/b/a Newport

News Shipbuilding, a Tenneco Company (“Huntington Ingalls Incorporated” or “Newport News

Shipbuilding” or “NNS”) and Northrop Grumman Corporation (“Northrop Grumman”) (herein

collectively referred to as “Defendants”) and alleges as follows:


I.     INTRODUCTION

       1.      This is an action to recover treble damages and civil penalties in excess of $100

million on behalf of the United States of America from Defendants for knowingly and/or recklessly
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presenting false claims to the United States government in violation of the federal False Claims

Act (“FCA”), 31 U.S.C. § 3729, et seq. Defendants falsified testing, quality inspection results, and

certifications on multi-billion dollar submarine contracts which induced the Government to pay

Defendants in-full for submarines with significant combat-readiness defects that have the potential

for putting American lives and national security at risk.          More specifically, as to critical

components of the submarines, including the application of the sound-dampening exterior hull

coating, the Defendants: 1) failed to develop a first article testing procedure; 2) failed to produce

sample test articles; 3) failed to perform mechanical and physical property tests on said samples;

4) failed to demonstrate processing ability; 5) failed to receive first article qualification from the

applicable technical authority prior to commencement of work; 6) failed to develop and maintain

a training program that ensured that all personnel were properly educated and certified; 7) failed

to train key personnel; 8) failed to obtain certification for certain critical equipment; and 9) failed

to develop and maintain internal processing handling and quality inspection procedures.

Nevertheless, the Defendants falsely certified in their payment applications that all such

certifications and procedures had been met.

       2.      When the Relator complained about the fraudulent conduct described herein to

Defendants’ management, he was awarded a poor performance evaluation for the first time in more

than 15 years of service and was then terminated in direct retaliation for his complaints. These

actions were taken in violation the Anti-Retaliation provisions of the FCA, 31 U.S.C. § 3730(h).


II.    PARTIES, JURISDICTION AND VENUE

       3.      Prior to the filing of this Complaint, and as potentially required by the FCA, 31

U.S.C. § 3730(b)(2), Relator has previously provided to the Attorney General of the United States

and the United States Attorney for the Middle District of Florida, a Sworn Disclosure Statement



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containing all material evidence and information related to this First Amended Complaint. The

Sworn Disclosure Statement is supported by material evidence known to the Relator establishing

the existence of Defendants’ false claims. Because the Sworn Disclosure Statement includes

attorney-client communications and work product of Relator’s attorneys, and is submitted to the

Attorney General and the United States Attorney in their capacity of potential co-counsel in the

litigation, the Relator asserts that this disclosure is confidential.

        4.      The Relator, Ari Lawrence, is a citizen of the United States and a resident of the

Commonwealth of Virginia. At all times relevant hereto, he was a Senior Structural Engineer in

the Submarine Engineering Department with technical expertise related to the construction of

Virginia-class attack submarines at the Huntington Ingalls Newport News Shipbuilding facility in

Virginia.

        5.      Northrop Grumman is an aerospace and defense technology company and was the

fifth largest defense contractor in the world as of 2015. Northrop Grumman employs

approximately 85,000 people worldwide. The company is headquartered in Falls Church, Virginia.

For 2015, the company’s net earnings totaled approximately Two Billion Dollars

($2,000,000,000.00). Northrop Grumman has operations throughout the United States and the

world and further has offices located at 5401 West Kennedy Boulevard, #1000, Tampa, Florida;

4500 NW 27th Avenue, #D, Gainesville, Florida; and 5000 U.S. 1, Saint Augustine, Florida. On

November 7, 2001, Northrop Grumman entered into an agreement to purchase Newport News

Shipbuilding for a total of $2.6 billon, which created Northrop Grumman Newport News. In

January of 2008, Northrop Grumman realigned its two shipbuilding sectors (Northrop Grumman

Newport News and Gulf Coast-based Northrop Grumman Ship Systems) to create a single sector




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Northrop Grumman Shipbuilding. On March 31, 2011, Northrop Grumman Shipbuilding spun off

its shipbuilding division to create Huntington Ingalls Industries.

       6.      Huntington Ingalls Industries, Inc. is a corporation organized and existing under the

general corporation law of the state of Delaware. Huntington Ingalls Industries is America’s largest

military shipbuilding company with its headquarters in Newport News, Virginia. Huntington

Ingalls Industries employs approximately 40,000 people operating both domestically and

internationally. Huntington Ingalls Industries also performs work in Pascagoula, Mississippi;

Virginia Beach, Virginia; Broomsfield, Colorado; Panama City, Florida; Houston, Texas; and San

Diego, California and also has employees in various places throughout the nation, including

Groton, Connecticut; Kingston, Rhode Island; and at a subsidiary company (Universal Pegasus

International) in Tampa, Florida. Many of the acts complained of herein occurred both prior to and

after the spin-off of Huntington Ingalls Industries from Northrop Grumman.

       7.      Huntington Ingalls Incorporated is a Virginia Corporation. It has filed a fictitious

name statement with the Virginia State Corporation Commission indicating that it also operates

under the name of Newport News Shipbuilding, a Tenneco Company. Huntington Ingalls

Industries publicly advertises that Newport News Shipbuilding is a division of Huntington Ingalls

Industries. As a result, upon information and belief, Huntington Ingalls Incorporated is a division

and wholly-owned subsidiary of Huntington Ingalls Industries, Inc. In addition, Huntington

Ingalls Industries and Newport News Shipbuilding have common ownership, an integrated

management structure and their operations and operational plans are intertwined. The managing

officers of Newport News Shipbuilding ultimately report and answer to executives at Huntington

Ingalls Industries at all times relevant to this Amended Complaint. There is also overlap of officers

and directors of Huntington Ingalls Industries and Newport News Shipbuilding.




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       8.      The United States District Courts have exclusive jurisdiction over actions brought

under the FCA pursuant to 31 U.S.C. §3732, and otherwise have jurisdiction under 28 U.S.C.

§§1331 and 1345. At all times relevant hereto, the Defendants regularly conducted substantial

business in Florida and maintained and operated sales division offices in this District and Division.

Accordingly, the Defendants are subject to personal jurisdiction in this District. Venue is

appropriate in the Middle District of Florida pursuant to 31 U.S.C. §3732(a) and 28 U.S.C.

§1391(b)(1) and (2). Section 3732(a) of the FCA provides that “any action under Section 3730

may be brought in any judicial district in which the defendant or, in the case of multiple defendants,

any one defendant can be found, resides, transacts business, or in which any act prescribed by

Section 3729 occurred.” Relator began employment with Huntington Ingalls’ predecessor

(Northrop Grumman Corporation) in October of 2001 as an Engineering Associate I. He continued

his employment under Newport News Shipbuilding and was promoted to a Senior Structural

Engineer. He has direct knowledge of the facts herein and is the original source of the same. While

he is unaware of any of the counts, fraud allegations and/or any of the acts described herein in

violation of 31 U.S.C §3729 having been publicly disclosed as contemplated under 31 U.S.C.

§3730(d)(4)(B), he has made voluntary disclosure of substantially all evidence and information in

his possession to authorities responsible for investigating these allegations prior to filing this

Complaint and is an original source of the information contained in the Complaint.

       9.      Under the FCA, the original Complaint was filed in camera and under seal. This

First Amended Complaint is filed pursuant to this Court’s order of October 1, 2019.




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III.   FACTS COMMON TO ALL COUNTS

                                        A.      Introduction
       10.     Newport News Shipbuilding is believed to be a division of Huntington Ingalls

Industries located in Newport News, Virginia. Virginia-class submarines are built through an

arrangement between Huntington Ingalls, in Newport News, Virginia and General Dynamics

Electric Boat in Groton, Connecticut (hereinafter referred to as “Electric Boat”). Under the

arrangement, the Newport News Shipbuilding facility builds the stern, habitability and machinery

spaces, torpedo room, sail and bow; whereas, Electric Boat builds the engine room and control

room. Newport News Shipbuilding and Electric Boat alternate work on the reactor plant, as well

as the final assembly, testing, outfit and delivery of the boats.

       11.     The Relator was, and continued to be up until the date of his termination, the

Subject Matter Expert (SME) and the “System Owner” for the system known as the High

Frequency Chin Array (“Chin Array”), which is a bow mounted sonar system on the Virginia-class

submarines. The “Chin Array,” which is a subject of the false claims herein and described in the

following paragraph, is always installed by Newport News Shipbuilding.

       12.     In the course of his employment, Relator discovered that certain departments at the

Newport News Shipbuilding facility did not have appropriate and required qualifications to apply

a certain two-part adhesive surface coating (“TPAC”) to the exterior of the Chin Array. The TPAC

is a binding agent that is utilized to attach the Virginia-class submarines’ stealth exterior sound

absorbing materials to the entire submarine hull. As more fully described below, when Relator

pressed for documentation validating the required certifications and pre-qualifications, officials in

the responsible departments at Newport News Shipbuilding were unable to produce it. When

directed to perform critical, contractually mandated tests, certain of these officials falsified test

reports and equipment certifications in an attempt to conceal the fact that they were not qualified


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to apply the TPAC. In addition, the Newport News Shipbuilding Quality Assurance (“QA”)

Department performed a “Pulse” Audit of the departments involved in applying the TPAC and

immediately issued a Serious Deficiency Report (SDR) to the Submarine Engineering Department

(“SUBE”) and Trade Management noting that they did not have the proper qualifications,

documentation, or training required to perform the work. Moreover, an independent Director at

Newport News Shipbuilding also identified the deficiencies and voiced the Navy’s growing

concerns over the poor quality of work occurring at Newport News Shipbuilding with respect to

the TPAC.

       13.     Notwithstanding Relator’s requests, Newport News Shipbuilding took no steps to

cease utilizing the TPAC improperly, ignoring the objections of SUBE and QA, and exerted

pressure on employees to improperly certify and accept the work performed.

       14.     The knowing failure of Newport News Shipbuilding to have certified and pre-

qualified applicators is a violation of the Navy’s design specifications and contractual

requirements; and Newport News Shipbuilding took deliberate efforts to conceal the lack of

qualifications, procedures, and training as required by the Navy.

       15.     In addition, in the process of investigating these serious deficiencies, Relator

discovered that Newport News Shipbuilding had never obtained proper qualifications and

certifications for the use of TPAC on the Virginia-class submarines for any applications. These

qualifications and certifications are critical to ensure that the personnel, equipment and processes

used to mix and apply the TPAC and otherwise adhere the exterior sound dampening materials to

the hull are properly performed.

       16.     Since the commencement of the program, as a consequence of Newport News

Shipbuilding’s failures to follow the Navy’s contracting requirements and specifications as alleged




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above, Virginia-class submarines have been plagued with serious adhesive failures of the exterior

hull coating due to the failure of the binding agent. The problems with the binding agent have

continued to this date.

       17.     The failure of this exterior sound-absorbing material jeopardizes the safety of the

submarines, and makes the submarine easier to detect by those who would seek to harm the United

States, thereby endangering the crew and national security. The failure of the sound-absorbing

material is a direct result of Newport News Shipbuilding’s failure to adhere to proper Navy

contract specifications and a direct effort to conceal that lack of qualifications and certifications

required by the Navy.

                          B.   Background of Virginia-Class Submarines
       18.     In 1998, the United States Navy awarded a $4.2 billion dollar contract for the

construction of the first four boats of the class. USS Virginia (SSN-774) was the first of these. On

December 22, 2008, the United States Navy awarded a $14 billion dollar contract to Electric Boat

and Huntington Ingalls’ predecessor (Northrop Grumman) for eight more Virginia-class

submarines. The contract called for the delivery of one submarine in each fiscal year of 2009 and

2010 and two submarines in each fiscal year 2011, 2012 and 2013. In December of 2010, the

United States Congress passed a defense authorization bill that expanded production to two

submarines per year, which resumed on September 2, 2011, with the commencement of

construction of the USS Washington (SSN-787).

       19.     The Virginia-class submarines have been constructed in “Blocks.” These Blocks

are summarized in Table I below that includes the status of the construction and/or delivery of the

vessels and further includes the internal designation or ship number used by Newport News

Shipbuilding in Newport News.




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                           Table I – Virginia-Class Submarine Construction
  Block Name &            Newport       Status         Final         Contract   Contract
        Hull #             News                       Delivery       Amount     Number
                           Ship                         By
                          Number
    I    USS Virginia               Commissioned Electric Boat
         (SSN-774)                  and in service

    I    USS Texas                  Commissioned Newport
         (SSN-775)                  and in service News
                                                   Shipbuilding
    I     USS Hawaii                Commissioned Electric Boat
         (SSN-776)                  and in service

    I    USS North                  Commissioned Newport
         Carolina                   and in service News
         (SSN-777)                                 Shipbuilding
   II    USS New                    Commissioned Electric Boat
         Hampshire                  and in service
         (SSN-778)
   II    USS New                    Commissioned Huntington
         Mexico                     and in service Ingalls
         (SSN-779)
   II    USS Missouri               Commissioned Electric Boat
         (SSN-780)                  and in service

   II    USS California             Commissioned Huntington
         (SSN-781)                  and in service Ingalls

   II    USS                        Commissioned Electric Boat
         Mississippi                and in service
         (SSN-782)
   II    USS Minnesota              Commissioned Huntington
         (SSN-783)                  and in service Ingalls

   III   USS North         NN       In Service       Electric Boat
         Dakota            669
         (SSN-784)
   III   USS John          NN       In Service       Huntington
         Warner            670                       Ingalls
         (SSN-785)




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   III   [Illinois]       NN    In Service          Electric Boat
         SSN-786          671

   III   [Washington]     NN    In Service          Huntington
         SSN-787          672                       Ingalls

   III   [Colorado]       NN    In Service          Electric Boat
         SSN-788          673

   III   [Indiana]        NN    In Service          Huntington
         SSN-789          674                       Ingalls

   III   [South Dakota]    NN In Service            Electric Boat
         SSN-790           675

   III   [Delaware]       NN    Launched            Huntington
         SSN-791          677                       Ingalls

   IV    [Vermont]              In Service          Electric Boat                  N0002412C2115
         SSN-792                                                    $17,650,394,
                                                                    416

   IV    [Oregon]               In              Electric Boat              N0002412C2115
         SSN-793                Service/christe               $17,650,394,
                                ned                           416

   IV    [Montana]              Under               Huntington                     N0002412C2115
         SSN-794                Construction        Ingalls         $17,650,394,
                                                                    416

   IV    [Hyman G.              Under               Electric Boat                  N0002412C2115
         Rickover]              Construction                        $17,650,394,
                                                                    416
         SSN-795
   IV    [New Jersey]            Under              Huntington $17,650,394, N0002412C2115
         SSN-796                 Construction       Ingalls       416
   IV    [Iowa]                  Under              Electric Boat $17,650,394, N0002412C2115
         SSN-797                 Construction                     416
   IV    [Massachusetts          Under              Huntington $17,650,394, N0002412C2115
         ]                       Construction       Ingalls       416
   IV      [Idaho]
           SSN-798               Under              Electric Boat $17,650,394, N0002412C2115
           SSN-799               Construction                     416
   IV      SSN-800               Under              Huntington $17,650,394, N0002412C2115
                                 Construction       Ingalls       416
   IV     [Utah]                 Under              Electric Boat $17,650,394, N0002412C2115
          SSN-                   construction                     416
          801



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        20.     The ten Virginia-class boats shown in Table 1 for the period of FY2014-FY2018

 (referred to as the Block IV boats) are being procured under a multiyear procurement (MYP)

 contract that was approved by Congress as part of its action on the FY2013 budget, and awarded

 by the Navy on April 28, 2014. The award identification number was N0002412C2115 and the

 base and exercise options value of the contract was $17,650,394,416. The eight Virginia-class

 boats procured in FY 2009-FY2013 (Block III boats) were procured under a previous MYP

 contract, and the five Virginia-class boats procured in FY2004-FY2008 (Block II boats) were

 procured under a still-earlier MYP contract. The four boats procured in FY1998-FY2002 (the

 Block I boats) were procured under a block buy contract, which is an arrangement somewhat

 similar to an MYP contract. The boat procured in FY2003 fell between the FY1998-FY2002 block

 buy contract and the FY2004-FY2008 MYP arrangement and was contracted for separately.

                           C.      Submarine Hull Coating Problems
        21.     Since the inception of the program, the Virginia-class submarines have been

 plagued with problems with their exterior hull coating system.

        22.     The hull and external structures of the Virginia-class submarines contain a

 specialized exterior hull coating that is designed to be “anechoic,” which means that the coating

 absorbs the sound waves of active sonar so they do not bounce back to the ship or submarine

 emitting the signal, thus evading sonar detection. The coating also dampens and insulates interior

 submarine noise making it more difficult to detect by passive acoustic (listening) technology. To

 the extent that this exterior hull coating fails, this imperils an underway submarine by making it

 easier to detect by sonar location and passive acoustic measures.

        23.     The exterior hull coating is applied to the submarine by Defendants with a two-part

 adhesive coating as discussed above, the “TPAC.”




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        24.     The United States Navy started reporting problems with the separation of the

 exterior coating in 2007 on the USS Virginia, which was the first submarine of the class. At that

 time, it was clear that there was a de-bonding problem with the exterior coating. In fact, on the

 USS Virginia, and subsequently delivered Virginia-class submarines, the exterior coatings tore off

 submarines while underway, often in large sections up to hundreds of square feet. Furthermore,

 the Pentagon’s top weapons tester at the Office of the Director, Operational Test & Evaluation

 (DOT&E) released a scathing report on June 30, 2010 on the Virginia-class submarine’s tendency

 to shed its sound-dampening hull coating.

        25.     On January 20, 2010, the Daily Press, a Newport News, Virginia-based newspaper

 reported that the coating that had peeled off in the earlier submarines in large swaths appeared to

 be adhering better to new boats, as indicated by a top Navy procurement official. The report

 indicated that after the Navy found that the sonar absorbing coating had major adhesive failures

 on three of the first four submarines in its class, they initiated an investigation to determine the

 cause of the problem and how to fix it. The newspaper article further quoted Vice Admiral Kevin

 M. McCoy, Commander of Naval Sea Systems Command, stating that “we think, for the most part,

 those issues are behind us.” McCoy further stated that the Navy’s investigation revealed “no single

 smoking gun” and that he was very confident going forward that the Navy’s submarine would

 retain its exterior coating that is necessary to keep the ship silent and stealthy. The article further

 indicated that effectiveness of the submarines was being fixed during normal dry-dock

 maintenance.

        26.     Despite the Navy’s public assurances, evidence indicates that the exterior coatings

 of the Virginia-class submarines have continued to fail since that date. One observer published an

 article on September 6, 2010 entitled “A Virginia Class – When Does Hull Coating Separation




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 Endanger the Boat?” This individual, Craig Hooper, referenced the DOT&E report and further

 quoted Allen Baribeau, with Naval Sea Systems Command, in an interview from Inside the Navy,

 wherein he stated “[t]he de-bonding issue has been aggressively pursued since its recognition in

 2006,” the statement reads, “the problem was largely due to immature application processes, which

 have been corrected on late ships. Because of the parallel construction process, [the hull treatment]

 was applied to several ships before the first at-sea testing of Virginia. The program office continues

 to monitor the performance of all ships and pursue improvement.”

        27.     Mr. Hooper went on to observe that based upon the pictures available, it appeared

 that every Virginia-class submarine was suffering from an “ugly tendency to shed their hull

 treatment” and questioned whether this could affect survivability. The article included recent

 photographs of the USS Virginia and USS Hawaii showing large sections of their surface treatment

 ripped away.

        28.     In fact, these same problems continue today both on the hull as well as on external

 structures of recently constructed Virginia class submarines. Photographs taken on April 15, 2019

 and released by the Defense Visual Information Distribution Services (DVIDS) of a recently

 constructed Virginia class submarine shows extensive failures of the exterior hull coating system.

                             D.      The High Frequency Chin Array
        29.     As previously discussed, the Virginia-class submarines are built in a cooperative

 agreement by Electric Boat and Newport News Shipbuilding. The two shipyards construct

 different sections of the boat and then alternate for the final assembly and delivery of the boats;

 Newport News Shipbuilding will deliver one boat and Electric Boat will deliver the next.

        30.     Each submarine has a High Frequency Chin Array (the “Chin Array” or “HFCA”

 that is installed directly under the bow so as to give an unobstructed acoustic view in front of and

 below the submarine. Newport News Shipbuilding installs the Chin Array on all Virginia-class


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 submarines regardless of whether the boat is delivered by Newport News Shipbuilding or Electric

 Boat. The Chin Array is a passive high-resolution sonar system.

        31.     The Chin Array’s composite fairing cap and tail fairings have historically been

 covered with a neoprene boot for protection. Due to boot vulnerabilities and failures, the decision

 was made to change the design from a molded neoprene boot that is adhered to the fairings using

 epoxy, to a casted/pourable TPAC material utilized as a boot due to its high performance and

 durability.

        32.     The Chin Array components are designated as “buy” parts that are subject to

 government competitive bid requirements in addition to requirements that the parts be procured

 and manufactured only from qualified suppliers. Pursuant to Newport News Shipbuilding’s

 contract with the Navy, the shipyard is contracted to only install compliant parts on the hull. As

 discussed below, certain groups within the Huntington Ingalls organization sought instead to install

 the TPAC boot to the procured fairings themselves, claiming it would lower acquisition costs.

 Further, these groups maintained that Newport News Shipbuilding was fully qualified to pour the

 TPAC boot and that it would be a waste of money for Newport News Shipbuilding to pay a supplier

 to become qualified to do this work.

        33.     There were two Newport News Shipbuilding Departments that were primarily

 involved in advocating pouring the boots in-house. Department E46 which is the Special Hull

 Treatment (SHT) and Mold In Place (MIP) group, and Dept O93 which is the Newport News

 Shipbuilding Virginia Class Submarine (VCS) Program Office. E46 acts as a technical support

 group to Department X32, which is the Trade Department that installs MIP and SHT to the hull.

 E46 should maintain all Newport News Shipbuilding documentation, certifications, procedures

 and training programs related to MIP/SHT for X32. Subsequently, all X32 trades performing work




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 with respect to the TPAC material shall hold and maintain certifications to mix and apply

 MIP/SHT on hulls. Department E46 is not a functional engineering group at Newport News

 Shipbuilding. As such, they do not hold technical authority to deviate from the Class Design

 requirements, nor are they authorized to direct trades to perform work. Department E46 is akin to

 a research and development team, whereas SUBE holds the functional engineering disciplines

 (Hull Structures, Mechanical, Electrical, and Submarine Piping) that hold all technical authority

 as the drawing and system owners.

        34.     The design change from a neoprene boot to a TPAC boot came in the middle of the

 Block III contract with the Chin Array fairing supplier. In order to mitigate out of scope design

 change fees, both Newport News Shipbuilding and Electric Boat agreed that Electric Boat trades

 (who are presumably qualified) should install the TPAC boots to Block III hulls 673D thru 677D.

 Then the Design change can be implemented on the Block IV hulls, which had not yet started, so

 that qualified suppliers could competitively bid for the work. This scenario was included in the

 Virginia-class Submarine Block IV technical baseline design that was agreed upon between the

 United States Navy, Electric Boat, and Newport News Shipbuilding, and believed to be the most

 cost-effective method.

        35.     New construction work must be performed in accordance with the applicable

 Drawings, invoked Specifications, Part Number requirements, and the Purchase Order. For out of

 scope work, Trades or “Tiger Teams” (installation and repair trades at various naval installations

 worldwide who perform emergent repair work) must perform work in accordance with an

 Engineering Report (ER).

        36.     The first instances of Neoprene boot failures occurred while the ships were in

 service, therefore replacement TPAC boots were successfully installed by Electric Boat Tiger




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 Teams via ER. Accordingly, the 673D thru 677D (Block III) TPAC Electric Boat trade installation

 requirements were to be in accordance with:

                 FMR# XXXXXX1 – Navy Authorization and Funding to perform the work and
                 Authorization Contract No. N00024-09-C-2104 and Contract Ch. No.
                 N0684.0861A
                 ERHXXX-XXXXXXX Rev. X – Engineering Authorization and requirements
                 to perform the work
                 XXXX-XXXX MIP/SHT TPAC Processing manual and requirements (mixing
                 etc.)2
                 EB XXXX TPAC Qualification and Material requirements
                 NAVSEA XXX-XXXXXXX TPAC Qualification and Material requirements
                 XXXX-XXXX HFCA DWG


        37.     Going forward for the 678D (Block IV), All Future Ships (AFS) New Construction

 Chin Array Design TPAC installation requirements are to be in accordance with:

                 EB Spec XXXX – Chin Array Procurement Specification
                 XXXX-XXXX Chin Array Piece Part Drawing Detail and Class Design
                 Requirements
                 P/N XXXXXXXX-XX thru XX – Part Number contractual requirements and
                 associated standard clauses and coded notes
                 EB XXXX - TPAC Qualification and Material requirements
                 NAVSEA XXX-XXXXXXX – TPAC Qualification and Material requirements

        38.     Matt Shaffer from NNS Department E46 approached the Chin Array System owner

 (Relator) and requested the opportunity to share this work with Electric Boat and install the TPAC

 boot in-house to finish the Block III boats. Mr. Shaffer stated that Newport News Shipbuilding

 could install a higher quality TPAC boot than Electric Boat at a lower cost than any supplier. Mr.

 Shaffer stated that Newport News Shipbuilding (E46/X32) was fully qualified for all invoked

 TPAC requirements for the MIP/SHT Program in accordance with MIP/SHT TPAC Processing


 1
   Certain specification/design standards have been redacted in response the government’s request
 to maintain information related to the construction process as confidential.
 2
   Note that this specification is a shipbuilder only document. Suppliers cannot perform work from
 this document.



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 manual and requirements (mixing etc.) (“the MIP/SHT Manual”) standards. The Relator, however,

 advised Mr. Shaffer that Newport News Shipbuilding was not qualified to meet the existing

 requirements, nor the Block IV Chin Array requirements in accordance with EB Spec XXXX Chin

 Array Procurement Specification as these requirements are far more stringent than the SHT/MIP

 Manual requirements. He further advised Mr. Shaffer that the company would expend significant

 expense attempting to become qualified, instead of using one of several other suppliers who were

 already qualified to perform the work. The relator also provided documented evidence in the form

 of Engineering Reports (ERs) and photographs of multiple instances where E46/X32 had failed at

 mixing and adhering the TPAC material to exterior structures made of the same material as the

 HFCA Fairings. E46/X32 have repeatedly applied non-compliant TPAC material to the High

 Efficiency Inlet (HEI) Doors, Dozens of Fat Line Towed Array (FLTA) Covers, and the composite

 Sail Cusp. Matt Shaffer applied pressure to the Relator by stating if Newport News Shipbuilding

 did not obtain additional MIP/SHT work, tradesmen within X32 would lose their jobs. The relator

 reluctantly granted E46/X32 approval to install the TPAC boots to Block III hulls 675D and 677D

 only, via ER, with the stipulation that they must be taught how to do the work from Electric Boat

 on hulls 673D and 674D, and SUBE-Department E12 held all final approval authority of the

 finished parts prior to installation.

         39.     The MIP/SHT Manual, which as noted above was a requirement for the Block III

 replacement TPAC boots, includes the following for all shipboard TPAC Applications:

 •   EB XXXX and NAVSEA XXX-XXXXXXX – TPAC Qualification and Material
     requirements:
        o NNS First Article Qualifications
        o NNS Engineering Approved Procedures for processing TPAC
        o A NNS Quality Inspection Program for all phases of TPAC Processing in accordance
            w/ MIL-I, MIL-Q, or ISO standards




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                Table II – EB Spec XXXX – TPAC Incompressible Wedge Manufacturing

              First Article Testing and Qualifications

              Process and Inspection Procedures/System IAW

              MIL-I Recurring Quality Assurance Inspections



 •   An NNS Training program that provides Trade / Operator Certifications to perform
     any/all phases of MIP/SHT and TPAC processing and installation work:


                     Table III – VCS DWG XXXX-XXXX – Special Hull Treatment
                                       Installation Procedure

            Section 8.3.1.6 Material Inspection in Accordance with NAVSEA DWG 690-
            6726597Visual Inspection per Table 8.2
                   Material Verification per Table 8.2
                   Certification Records for documentation per NAVSEA DWG 690-6726597
            Section 8.3.1.11 TPAC Bonded Shapes
                   Visual Inspection for Major/Minor Defect Criteria in Table 8-4
                   Dimensional requirements as specified by piece part DWG
                   Material verification
                   Shore D Hardness documentation
                   In Process material samples tested for acceptance in accordance w/ NAVSEA
                   DWG 690-6726597
                   Certification Records for documentation in accordance with EB Spec
                   4128/4520
                   Traceability documentation for raw material batch to finished part
            Section 9.0 Training
                   Official Training Records shall be kept
                   SAT rating required prior to performing any work
                   Qualified personnel shall be issued a certification card which identifies
                   MIP/SHT training




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 •   EB Spec XXXX – Chin Array Procurement Specifications:
                     Table IV – EB Spec XXXX – In Chin Array Procurement
              Approved Technical Documents Required Prior to Production
                     Section 3.2.1 & 3.11.1.2 Mold and TPAC Installation DWGs
                     Section 3.2.4.1 TPAC First Article Test Procedure
                     Section 3.2.4.1 TPAC First Article Test Report
                     Section 3.2.5 TPAC Installation Procedures
                     Section 3.5 Tool String Matrix
                     Section 3.5 & 3.11.1.3 Component Design Report for Special Tooling (molds,
                     etc.)
                     Section 3.8.4 Alternate Material Use Requests
                     Section 3.11.1.1 Process Specifications
                     Section 3.11.1.3 Special Tool DWGs
                     Section 3.11.1.4 Dimensional Inspection Procedures
                     Section 3.11.1.4 Visual Inspection Procedure
                     Section 3.11.1.4 Ultrasound Inspection and Equipment Calibration Procedures
                     Section 3.11.1.4 Surface Finish Inspection Procedures
                     Section 3.11.1.4 Acceptance and Rejection Criteria Procedures
                     Section 3.11.1.4 Repair and Rework Procedures
                     Section 3.11.1.4 Ultrasound Equipment Procedures
              Recurring Quality Assurance Certification and Test Reports
                     Section 4.3.5.4 Material Test Documentation
                     Section 4.3.4.5 Material Storage Life Certification
              Section 4.3.7 Inspection Reports
                     Visual Inspection/Workmanship Report
                     Dimensional Inspection Report
                     UT Result Report and Map
                     Shore D Hardness Measurements and Map
                     Mass Ratio Report

        40.     The Relator advised Departments E46 and X32 that the TPAC shall be applied in

 accordance with the Chin Array Procurement Specification EB Spec. XXXX. This specification

 includes the requirements discussed above, such as the “first article” testing and approval,

 engineering/customer approved procedures, and a quality inspection program. These

 specifications have always been in place to ensure the parts conform to all contractual

 requirements. Among other things, the specifications required TPAC first article testing, such that

 both personnel and equipment were to undergo training, testing, and certification prior to being

 permitted to install the TPAC on the Chin Array. Also, samples were required to be produced and


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 tested prior to obtaining certification. This is an extensive and time-consuming process as it would

 require all equipment and application personnel to be certified to apply the materials correctly

 before any work could be commenced, including the summary of pertinent TPAC EP Spec XXXX

 Chin Array Procurement Specification requirements that applied to the Chin Array.

        41.     One of the Relator’s co-workers, a Senior Structural Designer in Department E12,

 discovered that E46 had created an unauthorized time and material charge against the hull 672D

 chin array, an unauthorized purchase requisition, and then procured significant amounts of raw

 materials and a TPAC processor. Newport News Shipbuilding was not authorized to charge time

 or resources to hull 672D HFCA, as funding for that hull was already authorized by the Navy

 under an UPSA (modification to the 673D - 677D FMR without budget constraints) and directed

 by Engineering to be performed by a qualified supplier that was already under contract to perform

 the work.

        42.      This Senior Designer submitted a “false charging” complaint in good faith to the

 “OpenLine” of Newport News Shipbuilding. Newport News Shipbuilding advertises that its

 OpenLine offers “an anonymous and confidential means to voice concerns or report a suspected

 violation of our Code of Ethics and Business Conduct without fear of retaliation or coercion.”

 Newport News Shipbuilding further advertises that “[i]ndividuals who witness or suspect that

 anyone is active against our Code of Ethics and Business Conduct should raise the concern

 immediately with their management, Human Resources, Business Conduct Officer (BCO) or the

 OpenLine.” The Senior Structural Designers OpenLine complaint was forwarded directly to the

 Human Resources Department of Department E46 (which is the group that committed fraud),

 instead of forwarding the complaint to higher management outside of the department.




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        43.     As a result of the Senior Designers report to the OpenLine, a meeting was

 scheduled with the Human Resources representative for Department E46 and the Human

 Resources representative for the Relator’s department (E12), Submarine Engineering, at which

 point the Relator and the Senior Designer were told that Departments E46 and X32 had done

 nothing improper. Amarita Kim was the HR Representative who blocked any action being taken

 against Department E46 for False Charging, and insisted that nothing was done improperly.

        44.     Matt Shaffer from Department E46, working in conjunction with Department X32

 trades, poured the first Newport News Shipbuilding TPAC boot designated for hull 677D in April

 2015 on a Chin Array fairing cap. Scott Mader is a Supervisor in Department E46 and was Matt

 Shaffer’s immediate superior. Mr. Mader and Mr. Shaffer advised trade management that the part

 was fabricated and inspected in accordance with Virginia-class Submarine design and ER

 requirements and was satisfactory for installation prior to notifying SUBE that the part was ready

 for inspection. However, pursuant to applicable requirements and ERs, the part required inspection

 and acceptance by Relator’s group—SUBE-Department E12—prior to installation on hull. Upon

 on-site review of the part, SUBE immediately noted gross and obvious unacceptable defects,

 adhesion failures, and foreign material. All applicable Chin Array requirements maintain that no

 defect greater than .25” shall exist without repair and SUBE approval. This particular boot had a

 Major Defect in excess of 12 feet long across its entire leading edge.

        45.     Mr. Shaffer stated that he personally installed this boot and directed X32 to support

 him in repairing this area without seeking prior SUBE review, direction, or approval, and believed

 the repair to be satisfactory. Mr. Shaffer, Departments E46, and X32 made numerous attempts to

 conceal the true as-built condition of the part by sanding over the areas such that an inspector could

 not see through the normally clear TPAC material. SUBE performed a more thorough inspection




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 in accordance with the invoked requirements and documented the numerous defects in multiple

 ERs directing Departments E46 and X32 to perform extensive corrective actions.

        46.     At the same time the issues between Department E46 and E12 (the Relator’s

 Department) occurred, Department E12 Management authored and submitted a requisition request

 for the Relator to be promoted from an E3 Senior Engineer to an E4 Project Engineer based on his

 15 years of experience, Master’s Degree, and repeated exemplary service and performance ratings.

 The requisition/promotion request was approved by the Director of Submarine Engineering as well

 as the Vice President of Engineering at Newport News Shipbuilding. However, when the

 promotion was submitted to HR to create a requisition, the promotion was denied by Amarita Kim.

        47.     Due to the condition and poor quality of the first Fairing Cap with the TPAC boot,

 SUBE–Department E12 requested that E46 provide all standard processes and inspection

 documentation used when pouring the TPAC material for any/all other applications on the ship.

 Departments E46 and X32 were unable to produce any Newport News Shipbuilding created

 procedures or documentation for the hull coating, the FLTA fairings, the HEI Doors, or the

 Composite Sail Cusp.

        48.     The equipment used to mix the TPAC is also required to hold first article

 qualifications and approval prior to use pursuant to EB Spec XXXX. This Equipment Qualification

 is tied to the equipment manufacturer and the serial number of the specific machine. The use of a

 qualified machine does not grant the operator “qualification” to mix the material in that machine.

 Department E46 stated that a Qualified Machine would be used to mix and pour the TPAC on the

 Fairing Cap. Therefore, E12 also requested that E46 provide a photograph of the Label Plate that

 is permanently affixed to the TPAC Processor by the manufacturer typically by rivets or tack

 welds. A Label Plate includes the Manufacturers Name, Purchase Order, Part Number, and most




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 importantly, the Serial Number of the machine and provides quality assurance that the equipment

 used met applicable specifications and requirements. Matt Shaffer, of Department E46, used a

 label maker to produce a sticker that read “Serial # 5803,” affixed the sticker to the side of the

 machine, and took a photograph of the sticker and submitted it to Engineering as verification that

 a qualified machine was used. This was clearly an attempt to fraudulently submit false Objective

 Quality Evidence (OQE) to demonstrate that a Qualified Machine was used on the part, when, in

 fact, it was not.

         49.     Despite acknowledging a full understanding of the requirements to SUBE prior to

 pouring a TPAC boot, Departments E46 then claimed to Dept. O93 VCS Program Office that the

 Fairing Cap only had to meet the requirements specified in the XXXX-XXXX MIP/SHT Manual,

 and did not have to meet any of the invoked Chin Array requirements, such as EB Spec XXXX

 Chin Array Procurement Specification and the Chin Array Drawing. Although SUBE who owned

 all technical authority over the HFCA disagreed with this claim, the Relator investigated the VCS

 DWG XXXX-XXXX (The MIP/SHT Manual) specifications to determine what that document

 required for MIP/SHT. The VCS DWG XXXX-XXXX (MIP/SHT Manual) is a specification of

 over 500 pages with dozens of invoked qualification specifications for the various material types

 specified, and like EB XXXX Chin Array Procurement Specification, required first article

 qualification, Engineering approved processes and inspection procedures, as well as a thorough

 training and certification program for the trades and operators.

         50.     SUBE then issued a follow up ER stating that the Fairing Cap with TPAC boot

 poured by E46/X32 for Hull 677D did not meet the requirements of EB Spec XXXX Chin Array

 Procurement Specification, the Chin Array DWG XXXX-XXXX HFCA DWG, ERHXXX-

 XXXXXXX Engineering Authorization and requirements to perform the work XXXX-XXXX




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 (MIP/SHT Manual), nor the FMR, and was now deemed Technically Unacceptable for use on a

 Virginia Class Submarine. Engineering ordered the TPAC boot removed from the part in its

 entirety.

         51.    At this time, VCS Trade Management Bob Meyer and Tom Osbourne, VCS

 Program Office Tom Ward, along with E46 exerted significant pressure on the Relator and SUBE

 to accept the part as-is despite its deficient condition. Trade Management Tom Osbourne directed

 X32 to refuse the release of the discrepant part to a courier so that it could be shipped to a qualified

 sub-contractor in Boston to have the boot removed.

         52.    The Relator had a heated discussion with his direct manager Rob Szukelewicz in

 front of numerous Newport News Shipbuilding Carrier, Submarine, and Supplier Quality

 Engineers over the Relator’s refusal to accept the part as-is. According to Rob Szukelewicz it was

 the Relators job to support E46 in being successful in applying the TPAC material to the HFCA

 by any means necessary.      Rob Szukelewicz suggested the issue was merely a personality conflict

 between Matt Shaffer and the Relator, despite evidence of fraud, violation of every requirement

 specified for the part, and ultimately the blatantly defective as-built condition of the parts

 produced.

         53.    Immediately after the aforesaid discussion, Relator became visibly upset in a

 Newport News Shipbuilding Parking lot while describing the events to his wife (also a Newport

 News Shipbuilding Employee), which prompted Newport News Shipbuilding Security officers to

 approach the couple. The Relator explained the situation to Newport News Shipbuilding security,

 who concurred that the issue needed to be elevated to Newport News Shipbuilding Upper

 Management immediately. Newport News Shipbuilding Security Department O15 recommended

 providing a written statement in their Security Report detailing the pressures by Trade




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 management, the VCS program office, and now Engineering Management to accept the part with

 known gross and obvious defects and install it on the boat. Newport News Shipbuilding Security

 stated the written report would be investigated by a different entity and likely be seen by Newport

 News Shipbuilding Executive Management.

        54.     Unfortunately, the Newport News Shipbuilding Security Report, which is the

 second attempt at documenting and reporting unethical business conduct was recovered and

 “investigated” by Amarita Kim in HR, who again dismissed any and all claims that wrong-doing

 had occurred byE46, Trade Management, or the Relators direct manager..

        55.     Department E46 Management then sent an e-mail to the VCS Program office

 copying SUBE stating that the Relator’s “choice” to invoke EB Spec XXXX’s TPAC Qualification

 and Material requirements First Article Qualification requirement was “out of scope,” therefore

 suggesting the VCS Program Office should seek additional funding from the Government.

 Department E46 went on to claim that the Relator, E12, and SUBE were now invoking additional

 “new requirements” for the Chin Array with a TPAC boot that E46 had not planned for, which

 significantly increased Newport News Shipbuilding’s cost and extended the schedule to perform

 the work. The year before, however, Scott Mader of Department E46 sent an email dated Dec. 10,

 2014, that attempted to persuade the Newport News Shipbuilding Program Office (Tom Ward,

 Anna Yarashus, and David Vincent) to choose Department E46 to perform the work in lieu of a

 supplier to save costs. In the email, Mr. Mader stated that the TPAC installation on the Chin Array

 must be accomplished in accordance XXXX-XXXXMIP/SHT Manual and EB Spec XXXX TPAC

 Qualification and Material requirements, which requires First Article Qualification and approved

 procedures. Mr. Mader claimed that Newport News Shipbuilding Department E46 had already met

 all of the requirements of XXXX-XXXX MIP/SHT Manual and EB Spec XXXX TPAC




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 Qualification and Material requirements, and that Newport News Shipbuilding would incur

 unnecessary additional costs to pay for a supplier to meet these requirements. This demonstrates

 that Scott Mader and E46 knew of the requirements well in advance of the orchestrated effort to

 shift the work from a qualified supplier to X32, falsely claimed that E12 and the relator invoked

 added scope to the HFCA, and unethically suggested additional Government funding should be

 sought.

           56.   Once it became apparent that E46/X32 did not hold even the bare-minimum

 qualification requirements for TPAC, the Newport News Shipbuilding Chief Engineer Charles

 Southall advised Department E46 and X32 that they shall perform First Article Testing in

 accordance with EB Spec XXXX TPAC Qualification and Material requirements and submit it to

 SUBE-Department E12 for Approval. In addition, because of his refusal to accept the non-

 compliant material or provide technical support to Dept. E46, Charles Southall, Newport News

 Shipbuilding Chief Engineer suggested/recommended to Rob Szukelewicz and Michelle Guilford

 that the Relator be relieved of his current duties and transferred to the waterfront to learn and

 improve his “Engineering Rigor.”

           57.   EB Spec XXXX TPAC Qualification and Material requirements is applicable

 across all Submarine Programs (688 Class, SSN 21 Class, Ohio Class, and Virginia Class) for all

 TPAC applications and requires an entity seeking to perform that work to produce a sample of

 TPAC, provide all Objective Quality Evidence (OQE), perform an inspection of the sample,

 provide test results, and then develop processes and quality inspection procedures in accordance

 with MIL-I, prior to beginning production parts.

           58.   On August 27, 2015, Department E46 submitted a First Article PowerPoint

 presentation to SUBE-Department E12 for approval. Upon review of the document, SUBE noted




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 that it included a photograph of a TPAC sample that was the same photograph of a sample

 previously submitted by an Electric Boat sub-contractor for qualification of their TPAC Processor.

 When Department E12 requested to inspect the sample used for testing, Scott Mader and Matt

 Shaffer of Department E46 stated the sample had been thrown out within days of performing the

 test. Jim Sterns of the Chief Engineer’s Office deemed the 1st Article presentation adequate and

 pressed the Relator to accept the document and grant qualification to Department E46. The Relator

 refused and questioned Scott Mader if Department E46 had any prior experience with performing

 First Article Testing, because the presentation did not follow the requirements of EB Spec XXXX

 TPAC Qualification and Material requirements and included test results very similar to the Electric

 Boat sub-contractor’s first article submission. With Jim Stern of the Chief Engineers Office and

 SUBE Department E12 Management Michelle Guilford and Rob Szukelewicz as witnesses, Scott

 Mader, Supervisor of Department E46 MIP/SHT Group stated they had no prior experience

 performing First Article Qualification testing for Newport News Shipbuilding.

        59.      The relevant VCS DWG XXXX-XXXX MIP/SHT Manual specifications relating

 to the TPAC for special hull treatment procedures are summarized in Table III, supra. In addition,

 EB Spec TPAC Qualification and Material requirements applies to the use of the TPAC when used

 for Incompressible Wedge Manufacturing, which is summarized in Table V below.

              Table V – EB Spec XXXX – TPAC Incompressible Wedge Manufacturing

     First Article Testing and Qualifications

     Process and Inspection Procedures/System IAW

     MIL-I Recurring Quality Assurance Inspections




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       E. Use of TPAC as Adhesive for Exterior Coating to Virginia-Class Submarines

        60.     Although the utilization of the TPAC on the Chin Array was a new application of

 this product, Newport News Shipbuilding has also used the TPAC as an adhesive on the exterior

 hull of all of the Virginia-class submarines which they have delivered to the U.S. Navy as a means

 of bonding the exterior sound-absorbing material to the painted submarine hull. This is the same

 material discussed earlier which has exhibited in-situ failures within the TPAC adhesive and

 sloughing off the Virginia-class submarines since their inception.

        61.     In the process of reviewing VCS DWG XXXX-XXXXMIP/SHT Manual

 specifications to determine if Departments E46 and X32 were applying the TPAC correctly to the

 Chin Array, Relator not only discovered that the Departments did not have proper qualifications

 for the application of the TPAC material to the Chin Array, but also discovered that the Newport

 News Shipbuilding MIP/SHT Group also failed to obtain qualifications for applying the TPAC

 material as well as the MIP/SHT materials to the painted exterior hull of the submarines. In other

 words, the Relator discovered that under VCS DWG XXXX-XXXX MIP/SHT Manual

 specifications, Newport News Shipbuilding was required to have undergone appropriate training

 and obtain applicable qualifications for the compliant application of MIP/SHT hull coatings to a

 Virginia Class Submarine. Consequently, Relator discovered that Newport News Shipbuilding has

 improperly adhered TPAC and MIP/SHT to all of the exterior structure and painted hulls on all

 of the Virginia-class submarines.

        62.     This discovery of improperly-adhered exterior coatings occurred at the same

 August 28, 2015 meeting addressing the Qualification Presentation submitted to Engineering by

 Scott Mader and Matt Shaffer of Department E46 on behalf of Department X32 to apply the TPAC

 to the Chin Array. Jim Stern of The Chief Engineer’s Office aggressively pressed the Relator, in


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 front of the Relator’s management, to accept the fraudulent presentation that was submitted and to

 grant Department E46/X32 approval and qualification to apply the TPAC. The Relator refused to

 accept the presentation and challenged Scott Mader on the content. As stated earlier, at this

 meeting, Scott Mader admitted that he, nor Dept. E46 had no prior experience with First Article

 Procedures, Testing, or Qualifications in his previous 20 plus years within the Newport News

 Shipbuilding MIP/SHT program.

        63.     The Relator subsequently discovered that all Special Hull Treatment/Mold in Place

 (SHTMIP/SHT) materials require First Article Qualification prior to application on hull, approved

 material handling, application, and Quality Inspection Procedures, and an Applicator’s Training

 and Certification Program. In addition, the original Specifications invoking these requirements

 initially developed for the Seawolf Program had Scott Mader’s signature on the cover sheet.

 However, while under Scott Mader’s cognizance, the entire Newport News Shipbuilding MIP/SHT

 Program was not qualified to perform this work in accordance with XXXX-XXXX (MIP/SHT

 Manual).

        64.     Shortly after the August 28, 2015 meeting, the Relator was contacted by his

 counterpart at Electric Boat and asked why the Design Yard was advised by the Relator’s

 management and E46 that the Relator was no longer “working” on the Chin Array and that any

 and all future discussions on the subject shall be with his management only. The Relator’s

 Management then advised that based on Charles Southall’s direction to relieve the Relator from

 all of his duties in E12 and report to the yard, Rob Szukelewicz and Michelle Guilford instead

 chose to relieve the relator from his HFCA duties pertaining to the boot installation only. This

 decision was not communicated to the Relator by his management, they just flew with Matt Shaffer

 to Electric Boat and told the VCS Design Yard in person. The Relator was advised that he would




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 no longer be interacting with E46 or the trades with respect to the chin array, however he was still

 required to maintain technical ownership of the system, support supply chain management through

 procurement of the system, support the suppliers involved with fabricating the HFCA components,

 and support the shipbuilder with installing the system on hull.

        65.     Specifically, in accordance with Specification XXXX-XXXX MIP/SHT Manual,

 Newport News Shipbuilding is required to develop a first article testing procedure, produce sample

 test articles, perform mechanical and physical property tests on said samples, demonstrate TPAC

 processing ability, and receive First Article Qualification from the Technical Authority prior to

 commencing production work on Virginia Class Submarines. Newport News Shipbuilding is also

 required to develop and maintain a training program that ensures that all of its personnel are

 educated and certified to properly mix and apply the TPAC to the exterior of Virginia Class

 Submarines and adhere the exterior sound dampening material to the hulls of the submarines.

 Further, Newport News Shipbuilding is required to develop and maintain internal processing,

 handling, and Quality Inspection Procedures for all phases of TPAC, as well as MIP/SHT

 production work and application of the exterior sound dampening material to the hulls of the

 submarines. None of the aforesaid requirements as set forth by the Navy in accordance with XXX-

 XXXX MIP/SHT Manual have been met. In addition, neither Scott Mader, Matt Shaffer, nor Tom

 Osbourne were able to furnish documented evidence that any of these requirements have been met.

 Newport News Shipbuilding, however, has falsely certified in its payment applications that all

 MIP/SHT and TPAC has been applied in compliance with XXXX-XXXX MIP/SHT Manual.

        66.     The TPAC, if utilized correctly, is highly effective, and upon information and

 belief, the exterior coatings of the Virginia-class submarines would not have failed if Newport




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 News Shipbuilding had followed the applicable specification standards during the application

 process.

        67.    Newport News Shipbuilding Quality Audit and Assessment Department (K93) that

 oversees internal Quality Assurance (QA) was directed to investigate and audit the MIP/SHT

 group for compliance. K93 chose to exercise a “Pulse Audit” of the E46/X32 trades while they

 performed a TPAC pour for VCS. Matt Shaffer from Department E46 attempted to block K93

 from accessing the MIP/SHT shop by claiming K93 does not hold the necessary “need to know”

 and OSHA requirements. After being advised that neither E46 or Trade Management have the

 authority to block QA from performing internal audits, K93 witnessed X32 prepare, mix, and pour

 the TPAC material. Within hours of witnessing the MIP/SHT/TPAC operations, K93 issued a

 Serious Deficiency Report (SDR) dated August 21, 2015 for Department E46/X32’s failure to

 adhere to the invoked specifications for the application of TPAC and found that:

                 While preparing for a comprehensive audit of TPAC MIP/SHT
                 processes, K93 Audit and Assessment noted that there is no
                 objective quality evidence that specification required first article
                 testing requirements have been performed for TPAC MIP/SHT
                 production processes. In addition K93 was unable to determine if
                 there were NNS engineering prepared procedures in place. It was
                 found that a specification required inspection procedure had not
                 been created. As such, K93 cannot conduct an audit until
                 engineering has worked through a Plan of Action and Milestones
                 (POA&M) to assure compliance with specification and local
                 procedural requirements.

        68.    In addition to the SDR issued by Department K93, Mike O’Donnell, a Director at

 Newport News Shipbuilding, was also critical of Departments E46’s and X32’s ability to properly

 apply the TPAC. On August 27, 2015, Mike O’Donnell wrote an email to Matthew Holding,

 Thomas Osbourne, Willie Hayes, Scott Mader, John Zinskie, Ray Montgomery, Chandra

 McCulley-Hooker, and Dave Bolcar. In this email, Mr. O’Donnell indicated that:




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                 I consider the Mold-In-Place/Special Hull Treatment (SHT)
                 (MIP/SHT) process as a current area of concern. This is not a hit
                 on any one organization, it’s simply based on the number of
                 method B Corrective Action Requests (CARs) received in 2015,
                 the progress of the investigations associated with the CARs and
                 discussions with subject matter experts (including engineering,
                 craftsmen, Electric Boat, and SUP SHIP NN), etc.

                 My belief is that the customer (Navy) may be considering
                 elevation to a method C or method D for this process. We have
                 initiated our Area of Concern protocol and analyzed all CARs,
                 Unplanned Events, QIMs, and Audits for the subject over the last
                 two years to understand the scope and history of the problem, and
                 are in the process of evaluating the causes and actions identified
                 and taken to address the known issues.

        69.     Mr. O’Donnell works completely separate from the K93 QA group that had already

 issued a SDR for the MIP/SHT Program and Departments E46 and X32’s work. Likewise, an

 elevation to method D by the Navy would constitute a very serious problem with construction. As

 a result, this email reflects that the United States Navy was dissatisfied about the work performed

 by the Newport News Shipbuilding MIP/SHT group. This confirms that two separate organizations

 at Newport News Shipbuilding had recognized that there were major defects in the work performed

 by Departments E46 and X32 related to the TPAC application in addition to the Relator’s

 observations concerning same. Despite the multiple people to which the email was sent, no

 corrective action was taken by Newport News Shipbuilding.

        70.     On October 8, 2015, the Relator’s personal cell phone was confiscated by Newport

 News Shipbuilding security. The Relator was advised by Amarita Kim in HR that the company

 believed the Relator to be a security threat because he had inadvertently left his cell phone in his

 personal car’s center console while driving in the yard after hours to support the trades. The

 company held the cell phone for four weeks and found photographs of the discrepant TPAC

 material applied to the hull 677D Fairing Cap, which were taken at the sub-contractor’s facility,




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 while the part was in plain sight to the general public, in Boston, MA during the process of

 removing the non-compliant TPAC. The Relator took the photographs and immediately forwarded

 them to Newport News Shipbuilding’s E12 management, as well as the Design Yard, because

 foreign and uncured material was found on the now 4 month old TPAC boot that had been

 concealed by E46. During this discovery, despite saying prior that he personally installed and

 repaired this TPAC boot, as well as deemed it technically acceptable, Matt Shaffer told the Relator,

 other members of Dept. E12, and the Sub-contractor removing the TPAC that he was very

 disappointed in the quality of workmanship and performance of Department X32 trades who

 installed this deeply flawed and unacceptable TPAC boot.

        71.     HR had the photographs destroyed and the Relator was given a Final Written

 Warning and advised that he cannot seek another job within the company or be promoted for one

 (1) year. In addition, the Relator’s exemplary performance ratings of 3’s and 4’s for 2015 were

 changed to a rating of 1, as directed by Amarita Kim. However, the Relators supervisor, Michelle

 Guilford, added in writing at the bottom of the performance rating that the Relator’s performance

 remained exemplary and the overall score had only been changed by direction of Amarita Kim. In

 addition, department E12 could find no record or procedure stating this is a required result to

 receiving a written warning from HR. It was done at the personal discretion of Amarita Kim. The

 Relator has never received such a low rating in 15 years at Newport News Shipbuilding.

 Ultimately, on or about October 29, 2017, the Relator was fired in direct retaliation for voicing

 multiple concerns, making valid complaints, and documenting non-conformances in good faith

 with respect to fraudulent conduct detailed herein.

        72.     Upon further investigation, it became apparent to Relator and multiple others within

 SUBE that the continued failure of the exterior MIP/SHT coatings for submarines delivered by




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 Newport News Shipbuilding to the Navy, mimics the in-situ TPAC failures found on the FLTA,

 composite Sail Cusp, and HEI doors, and is a direct result of the failure of Newport News

 Shipbuilding to follow the proper processes, specifications, and requirements for the utilization of

 TPAC material. .

        73.      The quality problems associated with the exterior hull coatings and external

 structure’s coatings continue to plague the Virginia Class Submarine Program. Photographs taken

 on April 15, 2019 and released by the Defense Visual Information Distribution Services (DVIDS)

 of a recently constructed Virginia class submarine shows extensive failures of the exterior hull

 coating system. The photographs show large sections of the MIP/SHT failures particularly in the

 stern sections of the boat. This is the area of the boat where the MIP/SHT was applied by Newport

 News Shipbuilding. Contract numbers for the ships for which the TPAC was applied improperly

 to the hull are summarized in Table I.

        74.     The failure of the exterior coatings on the Virginia-class submarines as a result of

 the improper application of TPAC results in inefficient performance of the submarines and loss of

 their sound absorbing exterior coating, thereby making the submarines easily detectable and

 placing them at risk during operations. Further, to the extent that the submarines can be detected

 by adversaries, it affects the strategic capabilities of the United States Navy, constitutes a risk to

 crew safety, and impacts the national security of the United States.

        75.     Each Virginia-class submarine historically costs about $1.8 billion dollars to

 construct, which is charged to the Navy. In December of 2008, the Navy signed a $14 billion dollar

 contract with Huntington Ingalls predecessor (Northrup Grumman) and General Dynamics to

 construct eight submarines, which constitutes the Block III submarines covering hull numbers

 SSN-784 through SSN-791. This is a $14 billion multiyear procurement. Upon delivery of these




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 submarines by Huntington Ingalls to the Navy, Huntington Ingalls certified that the exterior

 coating material was properly adhered to the hull with the TPAC product, when clearly it was not.


 IV.    SEPARATE COUNTS

                                             COUNT I

               Scheme to Submit Fraudulent Claims (31 U.S.C. § 3729(a)(1)(A))
        76.     Count I is directed against all defendants - Huntington Ingalls Industries, Inc.,

 Huntington Ingalls Incorporated d/b/a Newport News Shipbuilding, a Tenneco Company and

 Northrop Grumman Corporation.

        77.     All allegations set forth in Paragraphs 1 through 8 and 10 through 75 of this

 Complaint are incorporated into this Count as if fully set forth herein.

        78.     As more particularly set forth in the foregoing paragraphs, by virtue of the acts

 alleged herein, the Defendants have knowingly presented or caused to be presented false or

 fraudulent claims for payment or approval in violation of 31 U.S.C. § 3729(a)(1)(A).

        79.     The United States, unaware of the falsity of the claims made by the Defendants,

 and in reliance on the material fraudulent or false representations within the claims, approved,

 paid, and participated in payments that would otherwise not have been allowed or paid.

        80.     As a result of Defendants’ acts, the United States has been damaged, and continues

 to be damaged, in a substantial amount to be determined at trial, and the United States is entitled

 to at least $10,781 and up to $21,563 for each and every violation of 31 U.S.C. § 3729 arising from

 Defendants’ unlawful conduct as described herein.




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                                             COUNT II

        Submission of Claims Containing False Express or Implied Certifications (31
                                 U.S.C. § 3729(a)(1)(A))
        81.     Count II is directed against all defendants - Huntington Ingalls Industries, Inc.,

 Huntington Ingalls Incorporated d/b/a Newport News Shipbuilding, a Tenneco Company and

 Northrop Grumman Corporation.

        82.     All allegations set forth in Paragraphs 1 through 8 and 10 through 75 of this

 Complaint are incorporated into this Count as if fully set forth herein.

        83.     As more particularly set forth in the foregoing paragraphs, by virtue of the acts

 alleged herein, the Defendants have knowingly made, used, or caused to be made or used, false

 records or statements – i.e., the false certifications and representations made or caused to be made

 by defendant – material to false or fraudulent claims in violation of 31 U.S.C. §3729(a)(1)(B).

        84.     The United States, unaware of the falsity of the claims made by the Defendants,

 and in reliance on the material fraudulent or false representations within the claims, approved,

 paid, and participated in payments that would otherwise not have been allowed or paid.

        85.     As a result of Defendants’ acts, the United States has been damaged, and continues

 to be damaged, in a substantial amount to be determined at trial, and the United States is entitled

 to at least $10,781 and up to $21,563 for each and every violation of 31 U.S.C. § 3729 arising from

 Defendants’ unlawful conduct as described herein.

                                            COUNT III

                      False Claims Conspiracy (31 U.S.C. § 3729(a)(1)(C))
        86.     Count III is directed against all defendants - Huntington Ingalls Industries, Inc.,

 Huntington Ingalls Incorporated d/b/a Newport News Shipbuilding, a Tenneco Company and

 Northrop Grumman Corporation.



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        87.     All allegations set forth in Paragraphs 1 through 8 and 10 through 75 of this

 Complaint are incorporated into this Count as if fully set forth herein.

        88.     By means of the acts described above, Defendants knowingly conspired to defraud

 the United States by getting false or fraudulent claims allowed or paid by the United States.

        89.     The United States, unaware of the falsity of the claims made by the Defendants,

 and in reliance on the material fraudulent or false representations within the claims, approved,

 paid, and participated in payments that would otherwise not have been allowed or paid.

        90.     As a result of Defendants’ acts, the United States has been damaged, and continues

 to be damaged, in a substantial amount to be determined at trial, and the United States is entitled

 to at least $10,781 and up to $21,563 for each and every violation of 31 U.S.C. § 3729 arising from

 Defendants’ unlawful conduct as described herein.

                                            COUNT IV

  Retaliation Against Relator, Ari Lawrence, by Huntington Ingalls, Inc. In Violation of 31
                                      U.S.C. § 3730(h)
        91.     Count IV is directed against only Huntington Ingalls Incorporated d/b/a Newport

 News Shipbuilding, a Tenneco Company.

        92.     All allegations set forth in Paragraphs 1 through 8 and 10 through 75 of this

 Complaint are incorporated into this Count as if fully set forth herein.

        93.     This is an action pursuant to 31 U.S.C. § 3730(h).

        94.     By virtue of the activities described above, Relator Ari Lawrence has engaged in

 protected conduct under the False Claims Act.

        95.     Defendant, Huntington Ingalls Industries, Inc., was aware of Relator Ari

 Lawrence’s actions.




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          96.   Defendant, Huntington Ingalls Industries, Inc., discriminated against Relator Ari

 Lawrence from at least March 2015 through the present, in retaliation for his aforesaid conduct

 protected under the False Claims Act, as follows:

                (a)     By blocking Relator’s promotion from an E3 Senior Engineer to an E4

 Project Engineer;

                (b)    by relieving Relator from his duties as the System Expert with Technical

 Authority over the HF Chin Array and subsequently removing the entire system from his Area of

 Responsibility;

                (c)    by threatening to relieve him of all of his duties within SUBE and

 transferring send him to the “yard” to work on his “engineering rigor”;

                (d)    by falsely reporting Relator as a security threat and confiscating his cell

 phone;

                (e)    by changing his exemplary performance ratings of 3s and 4s for 2015 to a

 rating of 1, the lowest rating that Relator has ever received in the fifteen years he worked at

 Newport News Shipbuilding, all of which retaliation and discrimination was directed by Amarita

 Kim of NNS’ HR department; and,

                (f)    by terminating his employment on or about October 29, 2017 in retaliation

 for the complaints made in good faith by the Relator as described herein.

                                    DEMAND FOR RELIEF
       WHEREFORE, Relator respectfully requests this Court enter judgment against Defendants

 as follows:

          A.    That the United States be awarded damages in the amount of three times the

 damages sustained by the United States because of the false and fraudulent claims alleged within

 this Complaint, as the Civil False Claims Act, 31 U.S.C. § 3729 et seq. provides;


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        B.         That civil penalties be imposed in the maximum amount for each and every false

 and fraudulent claim that Defendants presented to the United States;

        C.         That pre- and post-judgment interest be awarded, along with reasonable

 attorneys’ fees, costs and expenses which the Relators necessarily incurred in bringing and

 pursuing this action;

        D.         That the Court grant permanent injunctive relief to prevent any recurrence of

 the False Claims Act violations for which redress is sought in this Complaint;

        E.         That pursuant to § 3730(d), Relator be awarded the maximum percentage of the

 amount recovered by the United States as a result of this action;

        F.         That Relator Ari Lawrence be awarded compensation for the retaliatory actions

 taken against him in violation of the § 3730(h) in the following amounts;

                   (a)    lost compensation based on the same seniority status as Relator would

 have had but for the retaliatory action;

                   (b)    two times the amount of back pay;

                   (c)    interest on the back pay;

                   (d)    compensation for any special damages sustained as a result of the

 discrimination, including litigation costs and reasonable attorneys’ fees;

        G.         That this Court award such other further relief as the Court deems just and proper.
                                    DEMAND FOR JURY TRIAL

        Relator, on behalf of himself and the United States, demands a jury trial on all claims

 alleged herein.

                                                       Respectfully submitted,

                                                       /s/ John S. Vento
                                                       John S. Vento, Esq. (FB No. 329381)
                                                       TRENAM LAW


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                                                    /s/ James H. Shoemaker, Jr.
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                                                    Counsel for the Relator

                                 CERTIFICATE OF SERVICE

         I hereby certify that on October 15, 2019, a true and correct copy of the foregoing was
 served electronically by the Court’s CM/ECF System September 4, 2019, on all counsel or
 parties of record.


                                              By:     /s/ James H. Shoemaker, Jr.
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